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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                      NorthernDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                         California

 Jonathan Zubin, on behalf of himself and all others                 )
                 simillary situated                                  )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                         Civil Action No. 4:21-cv-07478-DMR
                                                                     )
                        Coinbase, Inc.                               )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Coinbase, Inc.
                                           430 California Street
                                           San Francisco, CA 94104




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matthew D. Carlson
                                           LAW OFFICE OF MATTHEW D. CARLSON
                                           3959 N. Buffalo Road, Suite 29
                                           Orchard Park, NY 14127



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:
                                                                                       Signature of Clerk or Deputy Clerk
